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 1
         [Submitting Counsel on Signature Page]
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 8                                   UNITED STATES DISTRICT COURT
 9                                 NORTHERN DISTRICT OF CALIFORNIA
10

11       IN RE: SOCIAL MEDIA ADOLESCENT                     Case No. 4:22-MD-03047-YGR
         ADDICTION/PERSONAL INJURY
12       PRODUCTS LIABILITY LITIGATION                      MDL No. 3047
13

14       This Document Relates to:                          [PROPOSED] REVISED SECOND
                                                            AMENDED STIPULATED
15       ALL PERSONAL INJURY ACTIONS                        IMPLEMENTATION ORDER
                                                            GOVERNING ADOPTION OF MASTER
16                                                          COMPLAINT (PERSONAL INJURY) AND
                                                            SHORT-FORM COMPLAINTS FOR
17                                                          FILED CASES

18

19   I.          APPLICABILITY AND SCOPE OF ORDER
20               This Implementation Order (“Order”) applies only to Plaintiffs who have asserted or seek
21   to assert personal injury claims related to the use of one or more of Defendants’ social media apps1
22   (“Personal Injury Plaintiffs”) consistent with the scope of the October 11, 2022 Transfer Order
23   initiating these MDL proceedings.2 No personal injury claims may be asserted in current or future
24   filed cases in this MDL other than pursuant to the terms of this Order. This Order applies to cases
25   directly filed in this MDL and those transferred, removed, or otherwise assigned to this proceeding
26   1
       Plaintiffs allege in the Second Amended Master Complaint and their proposed Short Form
27   Complaint that the social media apps are “products.” Nothing in this Case Management Order or
     in the template Short Form Complaint shall be construed as an admission by any Defendant that
28   their social media platform(s) are products for purposes of any claim asserted by any Plaintiff.
     2
       This Order does not apply to government entity cases.
                                                        1
     2926810.4
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 1   (collectively, “this MDL proceeding”). This Order is binding on all Parties and their counsel in all
 2   such cases. This Order is not intended to alter the applicable provisions of the Federal Rules of
 3   Civil Procedure or the Local Rules of this Court, except as specified herein or in any subsequent
 4   Pretrial Order. Defendants preserve all defenses, including jurisdictional and venue challenges, to
 5   any claims brought in this MDL pursuant to this Order.
 6   II.      MASTER PLEADINGS
 7            A.     MASTER COMPLAINT (PERSONAL INJURY)
 8                   1.     Timing. Pursuant to Case Management Order No. 7 (“CMO-7”),3 the
 9   Plaintiffs’ Steering Committee (PSC) filed a Second Amended Master Complaint (Personal Injury)
10   (“Master Complaint”) on December 15, 2023.4
11                   2.     Effect of Master Complaint. All claims pleaded in the Master Complaint
12   will supersede and replace all claims for personal injury in any action pending in this MDL. In
13   accordance with CMO-7, individual plaintiffs who wished to maintain the causes of action
14   withdrawn in the Master Complaint filed amended Short-Form Complaints re-asserting those
15   counts (and any supporting allegations) on Tuesday, January 2, 2024. If an amended Short-Form
16   Complaint was not filed, individual plaintiffs were deemed to stand on their earlier filed individual
17   Short-Form Complaints, which are deemed amended to conform with the Master Complaint.5
18   Nothing in this Order shall preclude the PSC from seeking leave to amend the Master Complaint
19   as provided in the Federal Rules of Civil Procedure or preclude any Defendant from opposing such
20   leave.
21            B.     SHORT-FORM COMPLAINT
22                   1.     Attached as Exhibit A to this Order is a template form Short-Form
23   Complaint (“SFC”) for use by personal injury Plaintiffs in current and future-filed personal injury
24   cases in this MDL.
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27   3
       Dkt. 479.
     4
28     Dkt. 494.
     5
       Dkt. 479, at 2.                                              [PROPOSED] REVISED SECOND AMENDED STIPULATED
                                                       2                IMPLEMENTATION ORDER GOVERNING ADOPTION
                                                                  OFMASTER COMPLAINT (PERSONAL INJURY) AND SHORT
                                                                                  FORM COMPLAINTS FOR FILED CASES
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 1                     2.      The SFC is an abbreviated form that each individual Plaintiff will complete,
 2   indicating their individual claims, the Defendants against whom they are bringing those claims, and
 3   adopting the applicable factual allegations set forth in the Master Complaint as the basis for those
 4   individual claims. Each Plaintiff who claims injury arising from their own use of Defendants’
 5   platforms shall file a separate SFC setting forth their individual claims and injury. Plaintiffs
 6   asserting loss of consortium claims as permitted by law; parents or guardians of a minor Plaintiff
 7   as permitted by law; and in the event of a wrongful death action, the appropriate heirs or
 8   representative(s) of the Estate may state their claims on the same SFC as the individual Plaintiff
 9   whose use of Defendants’ platforms gives rise to their claims. By this process, all allegations
10   applicable to the specific Defendants named in the SFC that are set forth in the Master Complaint
11   shall be deemed pleaded against those Defendants.
12                     3.      For each such personal injury action, the Master Complaint (and any
13   subsequent amendments) and the SFC (and any subsequent amendments) shall be deemed the
14   Plaintiff’s operative Complaint.
15                     4.      Each SFC filed in this MDL proceeding shall indicate the federal district
16   where the individual Plaintiff(s) originally filed or would have originally filed their Complaint.
17                     5.      The procedures for filing the Master Complaint and the SFC do not reflect
18   that the Defendants have agreed to or admitted the allegations set forth in those pleadings, nor have
19   the Defendants conceded or waived their right to dispute the legal validity of the claims alleged
20   therein.
21             C.      TIMING AND EFFECT OF FILING SHORT FORM COMPLAINTS
22                     1.      All Personal Injury Complaints
23                           a.        Direct Filed cases: All Personal Injury Plaintiffs must file their SFCs
24       electronically in this MDL. The Court refers Plaintiffs’ counsel to Case Management Order No. 4
25       – Direct Filing Order (“CMO-4”),6 which is incorporated herein and should be reviewed and
26       followed. For purposes of statutes of limitations and statutes of repose, any such Plaintiff shall be
27       deemed to have filed their Complaint as of the date they filed their Short Form Complaint and not
28
     6
         Dkt. 119.                                                     [PROPOSED] REVISED SECOND AMENDED STIPULATED
                                                           3               IMPLEMENTATION ORDER GOVERNING ADOPTION
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 1    the date of any master complaint, except that, for any Plaintiff who filed a Personal Injury
 2    Complaint in this MDL pursuant to CMO-4 before March 8, 2023 (the date the original version of
 3    this Order was entered), the date on which they filed such Complaint shall be the relevant date.
 4                         b.          Transferred cases: Any Plaintiff whose case becomes part of this
 5   MDL after March 8, 2023 (the date of filing of the original version of this Order (Dkt. 177)) by
 6   transfer from another district or from another judge in this district must file a SFC within 20 days
 7   from the date of transfer or, if originally filed in this district, from the date of assignment to this
 8   Court. For purposes of statutes of limitations and statutes of repose, any such Plaintiff shall be
 9   deemed to have filed their Complaint as of the date they filed their original Complaint in a different
10   judicial district or in this district and not the date of any master complaint or the date they filed their
11   Short Form Complaint. For purposes of statutes of limitations and statutes of repose, any Plaintiff
12   whose case became part of this MDL before March 8, 2023, shall be deemed to have filed their
13   complaint as of the date they filed their original complaint, and not the date of any master complaint
14   or the date they filed the SFC. Nothing in this Order or the filing of a SFC shall be construed as a
15   prior dismissal or amendment of a prior complaint, but the prior complaint shall no longer be
16   deemed the operative complaint.
17                   2.         No Multi-Plaintiff Personal Injury Complaints. Each Plaintiff must have an

18   individual complaint on file. Any Plaintiff who asserts personal injury claims in a multi-plaintiff

19   complaint that is pending or that is subsequently transferred to this MDL must file an individual SFC

20   20 days from the date that the Court posts the applicable Transfer Order on its docket. This provision

21   does not apply to Personal Injury Plaintiffs asserting loss of consortium claims as permitted by law;

22   parents or guardians of a minor Plaintiff as permitted by law; and in the event of a wrongful death
23   action, the appropriate heirs or representative(s) of the Estate.
24   III.    RESPONSE TO MASTER COMPLAINT AND SHORT-FORM COMPLAINTS
25           To eliminate potential delays and to promote judicial efficiency with respect to the
26   administration of this MDL proceeding, all SFCs filed in this MDL proceeding are deemed
27   answered and denied, without waiver of any defense or right to move to dismiss, and with full
28
                                                                       [PROPOSED] REVISED SECOND AMENDED STIPULATED
                                                          4                IMPLEMENTATION ORDER GOVERNING ADOPTION
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 1   preservation of all arguments and defenses that may be raised in any responsive pleading that may
 2   be required by future order of the Court or motion to dismiss.
 3   IV.      SERVICE OF PROCESS
 4            A.      SERVICE OF PROCESS OF NEWLY NAMED DEFENDANTS
 5                    1.     Plaintiffs may file an action against any Defendant not named in the current
 6   Master Complaint (“Newly Named Defendants”) directly in the MDL by using the SFC7 and the
 7   Master Complaint which is deemed adopted into any filed SFC.
 8                    2.     By this Order, Plaintiffs who name any “Newly Named Defendant” in their
 9   SFC may effectuate service of process on each “Newly Named Defendant” by serving the following
10   upon each Newly Named Defendant named in the SFC, in accordance with Rule 4 of the Federal
11   Rules of Civil Procedure:
12                           a. a copy of the Master Complaint;
13                           b. the SFC;
14                           c. a copy of this Order, and,
15                           d. a Summons.
16                    3.     To the extent Plaintiffs name Meta Platforms Technologies, LLC, Meta
17   Payments, Inc., or Whatsapp Inc. as Newly Named Defendants, the entities agree to waive formal
18   service of summons pursuant to Rule 4 of the Federal Rules of Civil Procedure. Service shall be
19   effectuated pursuant to the Section IV.B of this Order.
20                    4.     The right of Defendants and “Newly Named Defendants” to challenge
21   jurisdiction and venue are hereby preserved and explicitly not waived by Plaintiffs’ direct filing of
22   SFCs.
23            B.      SERVICE OF PROCESS WAIVER OF THE DEFENDANTS NAMED IN
                      THE CURRENT MASTER COMPLAINT
24

25                    1.     CMO-4, Section II (G) is amended as follows: For SFCs that are properly

26   filed in this MDL, the Defendants Meta Platforms, Inc., formerly known as Facebook Inc.;

27   Instagram, LLC; Facebook Operations, LLC; Facebook Payments, Inc.; Siculus, Inc.; Meta

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     7
         See Section II.B of the SFC.                               [PROPOSED] REVISED SECOND AMENDED STIPULATED
                                                        5               IMPLEMENTATION ORDER GOVERNING ADOPTION
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 1   Platforms Technologies, LLC; Meta Payments, Inc.; Whatsapp Inc.; Snap Inc.; ByteDance, Inc.;
 2   TikTok, Inc; ByteDance Ltd.; TikTok Ltd.; TikTok LLC;YouTube, LLC; and Google LLC agree
 3   to waive formal service of summons pursuant to Rule 4 of the Federal Rules of Civil Procedure.
 4   Please note that a Plaintiff that is serving a SFC, Summons, and Civil Cover Sheet is not required
 5   to serve a copy of the Master Complaint upon the currently named Defendants.
 6                 2.      MDL Centrality will provide a mechanism for Plaintiffs to upload and serve
 7   copies of the Complaint, Summons, and Civil Cover Sheet that were Electronically Filed with the
 8   Court on Defendants. MDL Centrality is accessible at www.mdlcentrality.com/socialmedia. Each
 9   Plaintiff, through counsel or pro se, may obtain authorized usernames and secure login passwords
10   to permit the use of MDL Centrality by emailing socialmedia@browngreer.com.
11                 3.      Absent a technical failure, Plaintiffs must upload the file-stamped version of
12   the SFC and a fillable PDF version of the SFC to MDL Centrality on the same day that the SFC is
13   filed with the Court. Service on Defendants shall be deemed to occur when the submitting party
14   has received the MDL Centrality confirmation report that the materials have been successfully
15   submitted to Defendants.
16                 4.      For any Short Form Complaint filed on or before the date of this Order, a
17   file-stamped copy of the Short Form Complaint must be uploaded to MDL Centrality within
18   fourteen (14) days of the date of this Order. Additionally, if counsel possesses a fillable PDF
19   version of any previously filed Short Form Complaint, the fillable PDF version must also be
20   uploaded to MDL Centrality by this date.
21                 5.      Plaintiffs shall make proof of electronic service to the Court as required by
22   Rule 4(l)(1) of the Federal Rules of Civil Procedure. Plaintiffs may use the MDL Centrality report
23   to demonstrate proof of service.
24                 6.      In the event a Plaintiff intends to name a Defendant not listed above, the
25   Plaintiff must serve the unlisted Defendant by the methods of service prescribed by the Federal
26   Rules of Civil Procedure.
27                 7.      For all SFCs filed in, removed to, or transferred to this MDL: (i) all requests
28   for issuance of summons shall be made in the underlying constituent case, and not through the
                                                                   [PROPOSED] REVISED SECOND AMENDED STIPULATED
                                                       6               IMPLEMENTATION ORDER GOVERNING ADOPTION
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 1   MDL Master Docket File; (ii) all proofs of service shall be filed only in the underlying constituent
 2   case and not in the MDL Master Docket File. Acceptance of electronic service shall not constitute
 3   a waiver of any defense.
 4

 5   DATED: February 5, 2024
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                                                        [PROPOSED] REVISED SECOND AMENDED STIPULATED
                                             12             IMPLEMENTATION ORDER GOVERNING ADOPTION
                                                      OFMASTER COMPLAINT (PERSONAL INJURY) AND SHORT
                                                                      FORM COMPLAINTS FOR FILED CASES
     Case 4:22-md-03047-YGR   Document 593    Filed 02/05/24     Page 13 of 15



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                                                     OFMASTER COMPLAINT (PERSONAL INJURY) AND SHORT
                                                                     FORM COMPLAINTS FOR FILED CASES
     Case 4:22-md-03047-YGR       Document 593    Filed 02/05/24       Page 14 of 15



 1          PURSUANT TO STIPULATION, IT IS SO ORDERED.
 2
      Dated: ____________, 2024
 3                                                    _______________________________
                                                      YVONNE GONZALEZ ROGERS
 4
                                                      UNITED STATES DISTRICT JUDGE
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                                                             [PROPOSED] REVISED SECOND AMENDED STIPULATED
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                                                           OFMASTER COMPLAINT (PERSONAL INJURY) AND SHORT
                                                                           FORM COMPLAINTS FOR FILED CASES
     Case 4:22-md-03047-YGR          Document 593        Filed 02/05/24      Page 15 of 15



 1                                            ATTESTATION
 2           I, Lexi J. Hazam, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence
 3    to the filing of this document has been obtained from each signatory hereto.
 4    DATED: February 5, 2024                      /s/Lexi J. Hazam_________________
 5                                                 Lexi J. Hazam
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                                                       15              IMPLEMENTATION ORDER GOVERNING ADOPTION
                                                                 OFMASTER COMPLAINT (PERSONAL INJURY) AND SHORT
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